             Case 2:09-cr-00244-WBS Document 313 Filed 01/30/17 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 BRIAN A. FOGERTY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:09-CR-00244-01 WBS
11
                                 Plaintiff,            STIPULATION AND [PROPOSED] ORDER
12                                                     RESETTING SENTENCING DATES
                           v.
13
     ELIAS ALVAREZ RAMIREZ,
14
                                 Defendant.
15

16

17          The United States of America, by and through Assistant U.S. Attorney Brian A. Fogerty, and

18 defendant Elias Alvarez Ramirez, by and through his counsel, John Balazs, hereby stipulate to reset

19 sentencing in this matter for Tuesday, February 21, 2017, at 9:00 a.m. Accordingly, the parties request

20 that the Court vacate the sentencing hearing currently set for February 6, 2017 (ECF No. 310), and

21 impose the following sentencing deadlines:

22
     Judgment and Sentencing Date:
23                                                                                     February 21, 2017

24
     Reply or Statement of Non-Opposition:
                                                                                       February 13, 2017
25

26
27

28


      STIPULATION AND [PROPOSED] ORDER CONTINUING      1
30    SENTENCING
           Case 2:09-cr-00244-WBS Document 313 Filed 01/30/17 Page 2 of 2

 1 Dated: January 30, 2017                                PHILLIP A. TALBERT
                                                          United States Attorney
 2

 3                                                 By: s/ Brian A. Fogerty
                                                       BRIAN A. FOGERTY
 4                                                     Assistant United States Attorney
 5

 6 Dated: January 30, 2017                                s/ Brian A. Fogerty for John Balazs
                                                          JOHN BALAZS
 7                                                        Counsel for Defendant
                                                          ELIAS ALVAREZ RAMIREZ
 8                                                        [Authorized by telephone on 1/27/17]
 9

10
                                                   ORDER
11
          It is so ORDERED.
12

13 Dated: January 30, 2017

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28


     STIPULATION AND [PROPOSED] ORDER CONTINUING      2
30   SENTENCING
